                               NO. 07-11-0106-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL C
                                       
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MARCH  29, 2011
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                            In re JESSE OLIVA, JR.,
                                   	Relator
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Before QUINN, C.J., and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Relator Jesse Oliva, Jr., proceeding pro se, filed a petition for writ of mandamus on March 9, 2011.  By letter of March 14, 2011, we informed relator of his failure to pay the filing fee and explained the proceeding would be dismissed unless the filing fee was paid by March 24, 2011.  See Tex. R. App. P. 5, 20.1, 42.3(c).  Relator did not pay the fee or file an affidavit of indigence.  
Accordingly, we dismiss relator's petition.  See Tex. R. App. P. 5, 42.3(c).

Per Curiam 



